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 7
                         UNITED STATES DISTRICT COURT
 8
                        CENTRAL DISTRICT OF CALIFORNIA
 9

10    SERIOUSLY AWESOME STUFF, LLC,            Case No. 2:21-cv-07399 SB (JCx)
11
                        Plaintiff,             PROTECTIVE ORDER
12

13               v.                            DISCOVERY MATTER
14
      TAYLOR JAMES, LLC dba
15    SUPERGOOP!,
16
                        Defendant.             Hon. Jacqueline Chooljian
17

18
      TAYLOR JAMES, LLC dba
19    SUPERGOOP!,
20
                        Counterclaimant,
21
                 v.
22

23    SERIOUSLY AWESOME STUFF, LLC,
24
                        Counter-Defendant.
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 1       1.      A. PURPOSES AND LIMITATIONS
 2            As the parties have represented that discovery in this action is likely to
 3   involve production of confidential, proprietary, or private information for which
 4   special protection from public disclosure and from use for any purpose other than
 5   prosecuting this litigation may be warranted, this Court enters the following
 6   Protective Order. This Order does not confer blanket protections on all disclosures
 7   or responses to discovery. The protection it affords from public disclosure and use
 8   extends only to the limited information or items that are entitled to confidential
 9   treatment under the applicable legal principles. Further, as set forth in Section
10   12.3, below, this Protective Order does not entitle the parties to file confidential
11   information under seal. Rather, when the parties seek permission from the court to
12   file material under seal, the parties must comply with Civil Local Rule 79-5 and
13   with any pertinent orders of the assigned District Judge and Magistrate Judge.
14            B. GOOD CAUSE STATEMENT
15            In light of the nature of the claims and allegations in this case and the
16   parties’ representations that discovery in this case will involve the production of
17   confidential records, and in order to expedite the flow of information, to facilitate
18   the prompt resolution of disputes over confidentiality of discovery materials, to
19   adequately protect information the parties are entitled to keep confidential, to
20   ensure that the parties are permitted reasonable necessary uses of such material in
21   connection with this action, to address their handling of such material at the end of
22   the litigation, and to serve the ends of justice, a protective order for such
23   information is justified in this matter. The parties shall not designate any
24   information/documents as confidential without a good faith belief that such
25   information/documents have been maintained in a confidential, non-public manner,
26   and that there is good cause or a compelling reason why it should not be part of the
27   public record of this case.
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 1           2.    DEFINITIONS
 2           2.1   Action: The instant action: Seriously Awesome Stuff, LLC v. Taylor
 3   James, LLC dba Supergoop!; USDC, CD Case No. 2:21-cv-07399 SB (JCx).
 4           2.2   Challenging Party: a Party or Non-Party that challenges the
 5   designation of information or items under this Order.
 6           2.3   “CONFIDENTIAL” Information or Items: information (regardless of
 7   how it is generated, stored or maintained) or tangible things that qualify for
 8   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 9   the Good Cause Statement.
10           2.4   “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
11   Information or Items: extremely sensitive “CONFIDENTIAL” Information or
12   Items, the disclosure of which to another Party or Non-Party would create a
13   substantial risk of serious harm that could not be avoided by less restrictive means.
14           2.5   Counsel: Outside Counsel of Record and House Counsel (as well as
15   their support staff).
16           2.6   Designating Party: a Party or Non-Party that designates information
17   or items that it produces in disclosures or in responses to discovery as
18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
19   ONLY.”
20           2.7   Disclosure or Discovery Material: all items or information, regardless
21   of the medium or manner in which it is generated, stored, or maintained (including,
22   among other things, testimony, transcripts, and tangible things), that are produced
23   or generated in disclosures or responses to discovery in this matter.
24           2.8   Expert: a person with specialized knowledge or experience in a
25   matter pertinent to the litigation who has been retained by a Party or its counsel to
26   serve as an expert witness or as a consultant in this Action.
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 1           2.9   House Counsel: attorneys who are employees of a party to this
 2   Action. House Counsel does not include Outside Counsel of Record or any other
 3   outside counsel.
 4           2.10 Non-Party: any natural person, partnership, corporation, association,
 5   or other legal entity not named as a Party to this action.
 6           2.11 Outside Counsel of Record: attorneys who are not employees of a
 7   party to this Action but are retained to represent or advise a party to this Action
 8   and have appeared in this Action on behalf of that party or are affiliated with a law
 9   firm which has appeared on behalf of that party, and includes support staff.
10           2.12 Party: any party to this Action, including all of its officers, directors,
11   employees, consultants, retained experts, and Outside Counsel of Record (and their
12   support staffs).
13           2.13 Producing Party: a Party or Non-Party that produces Disclosure or
14   Discovery Material in this Action.
15           2.14 Professional Vendors: persons or entities that provide litigation
16   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
17   demonstrations, and organizing, storing, or retrieving data in any form or medium)
18   and their employees and subcontractors.
19           2.15 Protected Material: any Disclosure or Discovery Material that is
20   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
21   ATTORNEYS’ EYES ONLY.”
22           2.16 Receiving Party: a Party that receives Disclosure or Discovery
23   Material from a Producing Party.
24           3.    SCOPE
25           The protections conferred by this Order cover not only Protected Material
26   (as defined above), but also (1) any information copied or extracted from Protected
27   Material; (2) all copies, excerpts, summaries, or compilations of Protected
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 1   Material; and (3) any deposition testimony, conversations, or presentations by
 2   Parties or their Counsel that might reveal Protected Material, other than during a
 3   court hearing or at trial.
 4           Any use of Protected Material during a court hearing or at trial shall be
 5   governed by the orders of the presiding judge. This Order does not govern the use
 6   of Protected Material during a court hearing or at trial.
 7           4.    DURATION
 8           Even after final disposition of this litigation, the confidentiality obligations
 9   imposed by this Order shall remain in effect until a Designating Party agrees
10   otherwise in writing or a court order otherwise directs. Final disposition shall be
11   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
12   with or without prejudice; and (2) final judgment herein after the completion and
13   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
14   including the time limits for filing any motions or applications for extension of
15   time pursuant to applicable law.
16           5.    DESIGNATING PROTECTED MATERIAL
17           5.1   Exercise of Restraint and Care in Designating Material for Protection.
18   Each Party or Non-Party that designates information or items for protection under
19   this Order must take care to limit any such designation to specific material that
20   qualifies under the appropriate standards. The Designating Party must designate for
21   protection only those parts of material, documents, items, or oral or written
22   communications that qualify so that other portions of the material, documents,
23   items, or communications for which protection is not warranted are not swept
24   unjustifiably within the ambit of this Order.
25           Mass, indiscriminate, or routinized designations are prohibited. Designations
26   that are shown to be clearly unjustified or that have been made for an improper
27   purpose (e.g., to unnecessarily encumber the case development process or to
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 1   impose unnecessary expenses and burdens on other parties) may expose the
 2   Designating Party to sanctions.
 3           If it comes to a Designating Party’s attention that information or items that it
 4   designated for protection do not qualify for protection, that Designating Party must
 5   promptly notify all other Parties that it is withdrawing the inapplicable designation.
 6           5.2      Manner and Timing of Designations. Except as otherwise provided in
 7   this Order (see, e.g., second paragraph of Section 5.2(a) below), or as otherwise
 8   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 9   under this Order must be clearly so designated before the material is disclosed or
10   produced.
11           Designation in conformity with this Order requires:
12                 (a) for information in documentary form (e.g., paper or electronic
13   documents, but excluding transcripts of depositions), that the Producing Party affix
14   at a minimum, the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
15   ATTORNEYS’ EYES ONLY” to each page that contains protected material. If
16   only a portion or portions of the material on a page qualifies for protection, the
17   Producing Party also must clearly identify the protected portion(s) (e.g., by making
18   appropriate markings in the margins).
19           A Party or Non-Party that makes original documents available for inspection
20   need not designate them for protection until after the inspecting Party has indicated
21   which documents it would like copied and produced. During the inspection and
22   before the designation, all of the material made available for inspection shall be
23   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
24   documents it wants copied and produced, the Producing Party must determine
25   which documents, or portions thereof, qualify for protection under this Order.
26   Then, before producing the specified documents, the Producing Party must affix
27   the “CONFIDENTIAL”, or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
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 1   ONLY” legend to each page that contains Protected Material. If only a portion or
 2   portions of the material on a page qualifies for protection, the Producing Party also
 3   must clearly identify the protected portion(s) (e.g., by making appropriate
 4   markings in the margins).
 5                 (b) for testimony given in depositions that the Designating Party
 6   identifies on the record, before the close of the deposition as protected testimony or
 7   which is designated by the Party who defended the deposition and/or who
 8   otherwise controls the confidentiality of the testimony within ten (10) days
 9   following the deposition. During the pendency of the 10-day period after any
10   deposition, the transcripts and recordings thereof shall be treated as Highly
11   Confidential – Attorneys’ Eyes Only.
12                 (c) for information produced in some form other than documentary and
13   for any other tangible items, that the Producing Party affix in a prominent place on
14   the exterior of the container or containers in which the information is stored the
15   legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
16   EYES ONLY.” If only a portion or portions of the information warrants
17   protection, the Producing Party, to the extent practicable, shall identify the
18   protected portion(s).
19           5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
20   failure to designate qualified information or items does not, standing alone, waive
21   the Designating Party's right to secure protection under this Order for such
22   material. Upon timely correction of a designation, the Receiving Party must make
23   reasonable
24   efforts to assure that the material is treated in accordance with the provisions of
25   this Order.
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 1           6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 2           6.1   Timing of Challenges. Any Party or Non-Party may challenge a
 3   designation of confidentiality at any time that is consistent with the Court’s
 4   Scheduling Order.
 5           6.2   Meet and Confer. The Challenging Party shall initiate the dispute
 6   resolution process under Local Rule 37-1 et seq.
 7           6.3   The burden of persuasion in any such challenge proceeding shall be
 8   on the Designating Party. Frivolous challenges, and those made for an improper
 9   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
10   parties) may expose the Challenging Party to sanctions. Unless the Designating
11   Party has waived or withdrawn the confidentiality designation, all parties shall
12   continue to afford the material in question the level of protection to which it is
13   entitled under the Producing Party’s designation until the Court rules on the
14   challenge.
15           7.    ACCESS TO AND USE OF PROTECTED MATERIAL
16           7.1   Basic Principles. A Receiving Party may use Protected Material that
17   is disclosed or produced by another Party or by a Non-Party in connection with this
18   Action only for prosecuting, defending, or attempting to settle this Action. Such
19   Protected Material may be disclosed only to the categories of persons and under
20   the conditions described in this Order. When the Action has been terminated, a
21   Receiving Party must comply with the provisions of Section 13 below.
22           Protected Material must be stored and maintained by a Receiving Party at a
23   location and in a secure manner that ensures that access is limited to the persons
24   authorized under this Order.
25           7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
26   otherwise ordered by the court or permitted in writing by the Designating Party, a
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 1   Receiving Party may disclose any information or item designated
 2   “CONFIDENTIAL” only to:
 3               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 4   well as employees of said Outside Counsel of Record to whom it is reasonably
 5   necessary to disclose the information for this Action;
 6               (b) the officers, directors, and employees (including House Counsel) of
 7   the Receiving Party to whom disclosure is reasonably necessary for this Action;
 8               (c) Experts (as defined in this Order) of the Receiving Party to whom
 9   disclosure is reasonably necessary for this Action and who have signed the
10   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
11               (d) the court and its personnel;
12               (e) private court reporters and their staff to whom disclosure is
13   reasonably necessary for this Action and who have signed the “Acknowledgment
14   and Agreement to Be Bound” (Exhibit A);
15               (f) professional jury or trial consultants, mock jurors, and Professional
16   Vendors to whom disclosure is reasonably necessary for this Action and who have
17   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
18               (g) the author or recipient of a document containing the information or a
19   custodian or other person who otherwise possessed or knew the information;
20               (h) during their depositions, witnesses, and attorneys for witnesses, in
21   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
22   party requests that the witness sign the “Acknowledgment and Agreement to Be
23   Bound” (Exhibit A); and (2) they will not be permitted to keep any confidential
24   information unless they sign the “Acknowledgment and Agreement to Be Bound”
25   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the
26   court. Pages of transcribed deposition testimony or exhibits to depositions that
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 1    reveal Protected Material may be separately bound by the court reporter and may
 2    not be disclosed to anyone except as permitted under this Protective Order; and
 3                  (i) any mediator or settlement officer, and their supporting personnel,
 4    mutually agreed upon by any of the parties engaged in settlement discussions.
 5            7.3      Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
 6    ONLY” Information or Items. Unless otherwise ordered by the court or permitted
 7    in writing by the Designating Party, a Receiving Party may disclose any
 8    information or item designated “HIGHLY CONFIDENTIAL” only to:
 9            (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
10    as employees of said Outside Counsel of Record to whom it is reasonably
11    necessary to disclose the information for this Action;
12            (b) Experts (as defined in this Order) of the Receiving Party to whom
13    disclosure is reasonably necessary for this Action and who have signed the
14    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
15            (c) the court and its personnel;
16            (d) private court reporters and their staff to whom disclosure is reasonably
17    necessary for this Action and who have signed the “Acknowledgment and
18    Agreement to Be Bound” (Exhibit A);
19            (e) professional jury or trial consultants, mock jurors, and Professional
20    Vendors to whom disclosure is reasonably necessary for this Action and who have
21    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
22            (f) the author or recipient of a document containing the information or a
23    custodian or other person who otherwise possessed or knew the information; and
24            (g) any mediator or settlement officer, and their supporting personnel,
25    mutually agreed upon by any of the parties engaged in settlement discussions.
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 1            8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED
 2                    PRODUCED IN OTHER LITIGATION
 3            If a Party is served with a subpoena or a court order issued in other litigation
 4    that compels disclosure of any information or items designated in this Action as
 5    “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
 6    ONLY,” that Party must:
 7                 (a) promptly notify in writing the Designating Party. Such notification
 8    shall include a copy of the subpoena or court order unless prohibited by law;
 9                 (b) promptly notify in writing the party who caused the subpoena or
10    order to issue in the other litigation that some or all of the material covered by the
11    subpoena or order is subject to this Protective Order. Such notification shall
12    include a copy of this Protective Order; and
13                 (c) cooperate with respect to all reasonable procedures sought to be
14    pursued by the Designating Party whose Protected Material may be affected.
15            If the Designating Party timely seeks a protective order, the Party served
16    with the subpoena or court order shall not produce any information designated in
17    this action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
18    ATTORNEYS’ EYES ONLY” before a determination by the court from which the
19    subpoena or order issued, unless the Party has obtained the Designating Party’s
20    permission, or unless otherwise required by the law or court order. The
21    Designating Party shall bear the burden and expense of seeking protection in that
22    court of its confidential material and nothing in these provisions should be
23    construed as authorizing or encouraging a Receiving Party in this Action to
24    disobey a lawful directive from another court.
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 1            9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 2                PRODUCED IN THIS LITIGATION
 3                (a) The terms of this Order are applicable to information produced by a
 4    Non-Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
 5    CONFIDENTIAL -- ATTORNEYS’ EYES ONLY.” Such information produced
 6    by Non-Parties in connection with this litigation is protected by the remedies and
 7    relief provided by this Order. Nothing in these provisions should be construed as
 8    prohibiting a Non-Party from seeking additional protections.
 9                (b) In the event that a Party is required, by a valid discovery request, to
10    produce a Non-Party’s confidential information in its possession, and the Party is
11    subject to an agreement with the Non-Party not to produce the Non-Party’s
12    confidential information, then the Party shall:
13                   (1) promptly notify in writing the Requesting Party and the Non-
14    Party that some or all of the information requested is subject to a confidentiality
15    agreement with a Non-Party;
16                   (2) promptly provide the Non-Party with a copy of the Protective
17    Order in this Action, the relevant discovery request(s), and a reasonably specific
18    description of the information requested; and
19                   (3) make the information requested available for inspection by the
20    Non-Party, if requested.
21                (c) If a Non-Party represented by counsel fails to commence the process
22    called for by Local Rules 45-1 and 37-1, et seq. within 14 days of receiving the
23    notice and accompanying information or fails contemporaneously to notify the
24    Receiving Party that it has done so, the Receiving Party may produce the Non-
25    Party’s confidential information responsive to the discovery request. If an
26    unrepresented Non-Party fails to seek a protective order from this court within 14
27    days of receiving the notice and accompanying information, the Receiving Party
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 1    may produce the Non-Party’s confidential information responsive to the discovery
 2    request. If the Non-Party timely seeks a protective order, the Receiving Party shall
 3    not produce any information in its possession or control that is subject to the
 4    confidentiality agreement with the Non-Party before a determination by the court
 5    unless otherwise required by the law or court order. Absent a court order to the
 6    contrary, the Non-Party shall bear the burden and expense of seeking protection in
 7    this court of its Protected Material.
 8            10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 9            If a Receiving Party learns that, by inadvertence or otherwise, it has
10    disclosed Protected Material to any person or in any circumstance not authorized
11    under this Protective Order, the Receiving Party must immediately (a) notify in
12    writing the Designating Party of the unauthorized disclosures, (b) use its best
13    efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
14    person or persons to whom unauthorized disclosures were made of all the terms of
15    this Order, and (d) request such person or persons to execute the
16    “Acknowledgment and Agreement to Be Bound” (Exhibit A).
17            11.   INADVERTENT PRODUCTION OF PRIVILEGED OR
18                  OTHERWISE PROTECTED MATERIAL
19            When a Producing Party gives notice to Receiving Parties that certain
20    inadvertently produced material is subject to a claim of privilege or other
21    protection, the obligations of the Receiving Parties are those set forth in Federal
22    Rule of Civil Procedure 26(b)(5)(B). If a Producing Party makes a claim of
23    inadvertent disclosure, the Receiving Party shall, within five (5) business days,
24    return or destroy all copies of the inadvertently disclosed information, and provide
25    a certification of counsel that all such information has been returned or destroyed.
26    The Disclosing Party retains the burden of establishing the privileged or protected
27    nature of the inadvertently disclosed information.
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 1            This provision is not intended to modify whatever procedure may be
 2    established in an e-discovery order that provides for production without prior
 3    privilege review.
 4            Pursuant to Federal Rule of Evidence 502(d) and (e), the production or
 5    disclosure of any privileged or otherwise protected documents and accompanying
 6    metadata, shall not result in any waiver, including subject matter waiver, of any
 7    kind (including, without limitation, the attorney-client privilege, the work-product
 8    doctrine, the joint defense privilege, or any other applicable privilege), in this or
 9    any other state or federal proceeding regardless of the circumstances of disclosure.
10    This Paragraph shall be interpreted to provide the maximum protection allowed by
11    Federal Rule of Evidence 502(d).
12            12.   MISCELLANEOUS
13            12.1 Right to Further Relief. Nothing in this Order abridges the right of
14    any person to seek its modification by the Court in the future.
15            12.2 Right to Assert Other Objections. No Party waives any right it
16    otherwise would have to object to disclosing or producing any information or item
17    on any ground not addressed in this Protective Order. Similarly, no Party waives
18    any right to object on any ground to use in evidence of any of the material covered
19    by this Protective Order.
20            12.3 Filing Protected Material. A Party that seeks to file under seal any
21    Protected Material must comply with Civil Local Rule 79-5 and with any pertinent
22    orders of the assigned District Judge and Magistrate Judge. Protected Material
23    may only be filed under seal pursuant to a court order authorizing the sealing of the
24    specific Protected Material at issue. If a Party’s request to file Protected Material
25    under seal is denied by the court, then the Receiving Party may file the information
26    in the public record unless otherwise instructed by the court.
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 1            13.   FINAL DISPOSITION
 2            After the final disposition of this Action, as defined in Section 4, within 60
 3    days of a written request by the Designating Party, each Receiving Party must
 4    return all Protected Material to the Producing Party or destroy such material. As
 5    used in this subdivision, “all Protected Material” includes all copies, abstracts,
 6    compilations, summaries, and any other format reproducing or capturing any of the
 7    Protected Material. Whether the Protected Material is returned or destroyed, the
 8    Receiving Party must submit a written certification to the Producing Party (and, if
 9    not the same person or entity, to the Designating Party) by the 60 day deadline that
10    (1) identifies (by category, where appropriate) all the Protected Material that was
11    returned or destroyed and (2) affirms that the Receiving Party has not retained any
12    copies, abstracts, compilations, summaries or any other format reproducing or
13    capturing any of the Protected Material. Notwithstanding this provision, Counsel
14    are entitled to retain an archival copy of all pleadings, motion papers, trial,
15    deposition, and hearing transcripts, legal memoranda, correspondence, deposition
16    and trial exhibits, expert reports, attorney work product, and consultant and expert
17    work product, even if such materials contain Protected Material. Any such
18    archival copies that contain or constitute Protected Material remain subject to this
19    Protective Order as set forth in Section 4.
20            14.   Any violation of this Order may be punished by any and all
21    appropriate measures including, without limitation, contempt proceedings and/or
22    monetary sanctions.
23            IT IS SO ORDERED.
24    DATED: November 19, 2021                      __________/s/_______________
                                                    Honorable Jacqueline Chooljian
25                                                  United States Magistrate Judge
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 1                                          EXHIBIT A
 2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3

 4    I,   _____________________________              [print   or   type   full   name],    of
 5    _________________ [print or type full address], declare under penalty of perjury
 6    that I have read in its entirety and understand the Protective Order that was issued
 7    by the United States District Court for the Central District of California on
 8    November 19, 2021 in the case of Seriously Awesome Stuff, LLC v. Taylor James,
 9    LLC dba Supergoop!; USDC, CD Case No. 2:21-cv-07399 SB (JCx). I agree to
10    comply with and to be bound by all the terms of this Protective Order and I
11    understand and acknowledge that failure to so comply could expose me to sanctions
12    and punishment in the nature of contempt. I solemnly promise that I will not disclose
13    in any manner any information or item that is subject to this Protective Order to any
14    person or entity except in strict compliance with the provisions of this Order.
15            I further agree to submit to the jurisdiction of the United States District Court
16    for the Central District of California for the purpose of enforcing the terms of this
17    Protective Order, even if such enforcement proceedings occur after termination of
18    this action. I hereby appoint __________________________ [print or type full
19    name] of _______________________________________ [print or type full address
20    and telephone number] as my California agent for service of process in connection
21    with this action or any proceedings related to enforcement of this Protective Order.
22    Date: ______________________________________
23    City and State where sworn and signed: _________________________________
24    Printed name: _____________________________
25    Signature: _______________________________
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